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13

14                           UNITED STATES DISTRICT COURT
15                          CENTRAL DISTRICT OF CALIFORNIA
16                                    EASTERN DIVISION
17

18   ALFRED JOHNSON, individually and on         Case No. 5:17-cv-2288
     behalf of all others similarly situated,
19
                    Plaintiffs,                  DEFENDANTS WINCO FOODS,
20                                               LLC’S & WINCO HOLDINGS,
           v.                                    INC.’S NOTICE OF REMOVAL OF
21                                               CIVIL ACTION TO THE UNITED
     WINCO FOODS, LLC, a Delaware limited        STATES DISTRICT COURT
22   liability company, WINCO HOLDINGS,
     INC., an Idaho Corporation, and DOES 1      [Filed Concurrently with Notice of
23   through 10, inclusive,                      Interested Parties, Declaration of
                                                 Jennifer Solecki, Civil Case Cover Sheet
24                  Defendants.                  and Corporate Disclosure Statement]
25                                               San Bernardino County Superior Court
                                                 Case No. CIVDS 1716405
26
                                                 Action Filed: August 23, 2017
27                                               Complaint Served: October 10, 2017
28


                     DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION
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 1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
 2   OF CALIFORNIA AND TO PLAINTIFF ALFRED JOHNSON AND HIS
 3   ATTORNEYS OF RECORD:
 4         NOTICE IS HEREBY GIVEN that Defendants WINCO FOODS, LLC
 5   (“WinCo”) and WINCO HOLDINGS, INC. (“WinCo Holdings”) (collectively,
 6   “Defendants”) hereby file this Notice of Removal pursuant to 28 U.S.C. §§ 1441, 1446,
 7   and 1453, based on Class Action Fairness Act (“CAFA”) jurisdiction under 28 U.S.C. §
 8   1332 and federal question jurisdiction under 28 U.S.C. § 13311, and remove the above-
 9   captioned matter from the Superior Court of the State of California for the County of San
10   Bernardino to the United States District Court for the Central District of California,
11   Eastern Division. Removal is proper for the following reasons:
12   I.    BACKGROUND AND PROCEEDINGS IN STATE COURT
13         1.     On August 23, 2017, Plaintiff, Alfred Johnson, filed an unverified class-
14   action complaint entitled: “ALFRED JOHNSON, individually and on behalf of all others
15   similarly situated, Plaintiff v. WINCO FOODS, LLC, a Delaware limited liability
16   company, WINCO HOLDINGS, INC., an Idaho corporation, and DOES 1 through 10,
17   inclusive, Defendants,” designated as Case No. CIVDS 1716405 in the Superior Court of
18   the State of California for the County of San Bernardino (the “Complaint”).
19         2.     Within the Complaint, Plaintiff asserts the following nine (9) causes of
20   action: (1) Unpaid Overtime (Labor Code §§ 510 and 1198); (2) Unpaid Minimum
21   Wages (Labor Code §§ 1182.12, 1194, 1197, 1197.1, and 1198); (3) Failure to Provide
22   Meal Periods (Labor Code §§ 226.7, 512(a), and 1198); (4) Failure to Provide Rest
23   Periods (Labor Code §§ 226.7 and 1198); (5) Non-Compliant Wage Statements and
24   Failure to Maintain Payroll Records (Labor Code §§ 226(a), 1174(d), and 1198);
25   (6) Wages Not Timely Paid Upon Termination (Labor Code §§ 201-203); (7)
26   1
      To the extent Plaintiff has alleged any other claims for relief in the Complaint over
27   which this Court would not have original jurisdiction under 28 U.S.C. §§ 1331 and 1332,
28   the Court has supplemental jurisdiction over any such claims pursuant to 28 U.S.C. §
     1367(a).
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 1   Unreimbursed Business Expenses (Labor Code § 2802); (8) Unlawful Business Practices
 2   regarding wage related allegations (Bus. & Prof. Code §§ 17200, et seq.); and (9)
 3   Unlawful Business Practices regarding meal and rest break related allegations (Bus. &
 4   Prof. Code §§ 17200, et seq.).
 5         3.      Plaintiff personally served WinCo and WinCo Holdings with the Complaint
 6   and the Summons on or about October 10, 2017. A true and correct copy of the
 7   Complaint, Summons, and Civil Case Cover Sheet is attached hereto as Exhibit A.
 8         4.      The Complaint seeks to certify a class of “[a]ll persons who worked for
 9   Defendants as nonexempt, hourly-paid employees in California, including retail,
10   warehouse, and distribution center locations, within four years prior to the filing of this
11   complaint until the date of trial.” (Ex. A, Compl. ¶ 40).
12         5.      The Complaint further seeks to certify a subclass of “[a]ll persons who
13   worked for Defendants as nonexempt, hourly-paid employees in California, including
14   retail, warehouse, and distribution center locations, within one year prior to the filing of
15   this complaint until the date of trial.” (Ex. A, Compl. ¶ 41).
16         6.      The Complaint includes myriad allegations, including the following:
17         •    Defendants required Plaintiff and class members to work over eight hours per
                day, over twelve hours per day, or over forty hours per week and failed to pay
18              all legally required overtime compensation. (Ex. A, Compl. ¶ 44).
19         •    Defendants failed to properly calculate the “regular rate” of pay on which
                Plaintiff and class members’ overtime rate of pay was based. Id.
20
           •    Defendants failed to pay Plaintiff and class members at least minimum wages
21              for all hours worked. Id.
22         •    Defendants failed to provide Plaintiff and class members with meal periods. Id.
23         •    Defendants failed to provide Plaintiff and class members with rest periods. Id.
24         •    Defendants failed to provide Plaintiff and class members with complete and
                accurate wage statements. Id.
25
           •    Defendants failed to pay earned overtime wages, minimum wages, and rest
26              period premiums due to Plaintiff and class members upon their discharge. Id.
27         •    Defendants failed to timely pay overtime wages, minimum wages, and meal and
                rest period premiums to Plaintiff and class members during their employment.
28              Id.

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 1          •     Defendants failed to pay Plaintiff and class members for the costs of mandatory
                  pre-employment physical examinations and drug testing. Id.
 2
            •     Defendants failed to reimburse Plaintiff and class members for business-related
 3                expenses they incurred as a result of their employment. Id.
 4          •     Defendants failed to provide written notice of information material to Plaintiff
                  and class members’ employment. Id.
 5
            •     Defendants engaged in unlawful and unfair business practices. Id.
 6

 7          7.       Defendants deny all material allegations in the Complaint, but treat the
 8   allegations as true for purposes of this Notice of Removal. Defendants have not filed any
 9   pleadings or papers in this action prior to this Notice of Removal. Exhibit A constitutes
10   all pleadings, processes, and orders properly served on Defendants in this action.
11   II.    TIMELINESS OF REMOVAL
12          8.       Plaintiff personally served Defendants’ registered agent for service of
13   process on or about October 10, 2017. See Exhibit A. This Notice of Removal is timely
14   because it is being filed within 30 days of Defendants’ receipt of the Summons and
15   Complaint and within one year of the commencement of this action. See 28 U.S.C. §
16   1446(b); see also Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354
17   (1999) (explaining the time for filing a notice of removal does not run until a party has
18   been formally served with the summons and complaint under applicable state law).
19   III.   JURISDICTION UNDER THE CLASS ACTION FAIRNESS ACT
20          9.       This Court has original jurisdiction over this action pursuant to the Class
21   Action Fairness Act (“CAFA”) because (1) “the matter in controversy exceeds the sum or
22   value of $5,000,000, exclusive of interest and costs,” (2) the action is pleaded as a class
23   action involving more than 100 putative class members (Ex. A, Compl., ¶ 45), and (3) at
24   least one member of the putative class is a citizen of a State different from Defendants.
25   See 28 U.S.C. § 1332(d).
26          A.       Diverse Citizenship of the Parties
27          10.      CAFA requires only minimal diversity for the purpose of establishing
28   federal jurisdiction; that is, at least one purported class member must be a citizen of a

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 1   State different from any named defendant. See 28 U.S.C. 1332(d)(2)(A). United Steel,
 2   Paper & Forestry, Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int'l Union,
 3   AFL-CIO, CLC v. Shell Oil Co., 602 F.3d 1087, 1090-91 (9th Cir. 2010) (explaining that
 4   to achieve its purposes CAFA provides expanded original diversity jurisdiction for class
 5   actions meeting the minimal diversity requirement in 28 U.S.C. § 1332(d)(2)). Here,
 6   such minimal diversity exists among the parties. In fact, as set forth below, complete
 7   diversity exists between Plaintiff and Defendants.
 8                1.     Plaintiff Is a Citizen of California
 9         11.    “To establish citizenship for diversity purposes, a [natural] person must be
10   both (1) a citizen of the United States, and (2) be domiciled in [one] state.” Chamness v.
11   Stonebridge Life Ins. Co., Case No. CV09-0780 AHM (JCx), 2009 WL 734137, at *3
12   (C.D. Cal. Mar. 18, 2008) (denying plaintiff’s motion for remand because defendant’s
13   removal notice established complete diversity).
14         12.    A person’s domicile is the place in which he or she resides with the intent to
15   remain indefinitely. See Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir.
16   2001) (“A person’s domicile is her permanent home, where she resides with the intention
17   to remain or to which she intends to return”); see also Boon v. Allstate Ins. Co., 229 F.
18   Supp. 2d 1016, 1019 (C.D. Cal. 2002) (noting that an individual is a citizen of the state in
19   which he is domiciled; domicile is determined by an individual’s (1) residence in a state,
20   and (2) his intent to remain indefinitely).
21         13.    Citizenship is determined by an individual’s domicile at the time the lawsuit
22   is filed. See Lew v. Moss, 797 F.2d 749, 750 (9th Cir. 1986); see also Zavala v. Deutsche
23   Bank Trust Co. Ams., No. C 13-1040 LB, 2013 WL 3474760, at *3 (N.D. Cal. July 10,
24   2013) (where a plaintiff’s complaint alleges he resides in California, “in the absence of
25   evidence to the contrary, [plaintiff] is a California citizen for diversity purposes”).
26         14.    Here, Plaintiff alleges that he “is a resident of Victorville, in San Bernardino
27   County, California.” (Ex. A, Compl., ¶ 4). He further alleges that he was employed by
28   Defendants at their “grocery store location in Victorville, California.” (Id.) Indeed, as

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 1   part of his Application for Employment, Plaintiff listed a California address and
 2   maintained a California address on file for purposes of his personnel file, payroll checks,
 3   state payroll, and tax withholdings during the period of his employment. (Declaration of
 4   Solecki (“Solecki Decl.”), ¶ 5). Defendants are informed and believe, and on that basis
 5   allege, that Plaintiff’s last known address is in the City of Victorville, California. (Id. at ¶
 6   11.)
 7          15.   Accordingly, Plaintiff was at all relevant times, and still is, a citizen of the
 8   State of California.
 9                2.        WinCo & WinCo Holdings Are Not Citizens of California and
                            Are Therefore Diverse to Plaintiff
10

11          16.   WinCo is a citizen of both Delaware and Idaho and is not now, and was not
12   at the time of the filing of this action, a citizen of the state of California within the
13   meaning of 28 U.S.C. § 1332(c)(1).
14          17.   For purposes of diversity jurisdiction under CAFA, “an unincorporated
15   association” need not allege the citizenship of its members, but rather “shall be deemed to
16   be a citizen of the State where it has its principal place of business and the State under
17   whose laws it is organized.” 28 U.S.C. § 1332(d)(10); Johnson v. Columbia Props.
18   Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (limited liability companies are
19   “unincorporated associations” for purposes of 28 U.S.C. § 1332…”). CAFA “abrogates
20   the traditional rule that an unincorporated association shares the citizenship of each of its
21   members for diversity purposes . . . .” Davis v. HSBC Bank Nevada, N.A., 557 F.3d
22   1026, 1032 n.13 (9th Cir. 2009) (A. Kleinfeld, concurring). Thus, to determine
23   jurisdiction under CAFA, a limited liability company, need only allege its “principal
24   place of business and the State under whose laws it is organized.” 28 U.S.C. §
25   1332(d)(10); see e.g., Abrego v. Dow Chem. Co., 443 F. 3d 676, 684 (9th Cir. 2006)
26   (stating that CAFA “departs from the rule that frequently destroys diversity jurisdiction,
27   that a limited partnership’s or unincorporated association’s citizenship can be determined
28   only by reference to all of the entity’s members.”) (citations and internal quotations

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 1   omitted); Marroquin v. Wells Fargo, LLC, No. 11–CV–163–L–BLM, 2011 WL 476540
 2   at *2 (S.D. Cal. Feb. 3, 2011) (holding that an LLC is considered an “unincorporated
 3   association” in a CAFA case, and “is ‘deemed to be a citizen of the State where it has its
 4   principal place of business and the State under whose laws it is organized’”) (citing 28
 5   U.S.C. § 1332(d)(10)).
 6         18.    WinCo is, and has been at all times since this action commenced, a limited
 7   liability company formed under the laws of the State of Delaware with its principal place
 8   of business in the State of Idaho. (Solecki Decl., ¶ 3). WinCo’s principal place of
 9   business is Idaho because its “nerve center” is located in Idaho. (Id.) Specifically,
10   WinCo’s corporate headquarters are located exclusively in the State of Idaho, and all of
11   WinCo’s executive and administrative functions take place in Idaho. (Id.)
12         19.    WinCo Holdings is a citizen of Idaho and is not now, and was not at the time
13   of the filing of this action, a citizen of the state of California within the meaning of 28
14   U.S.C. § 1332(c)(1). (Id. at ¶ 4).
15         20.    “[A] corporation shall be deemed to be a citizen of every State … by which
16   it has been incorporated and of the State … where it has its principal place of business.”
17   28 U.S.C. § 1332(c); Davis, 557 F.3d at 1028 (“[A] corporation is a citizen of (1) the
18   state under whose laws it is organized or incorporated; and (2) the state of its ‘principal
19   place of business.’”). Courts determine a corporation’s principal place of business under
20   the “nerve center” test. Hertz Corp. v. Friend, 599 U.S. 77, 92-93 (2010). Under that
21   test, a corporation’s principal place of business is where its “officers direct, control and
22   coordinate the corporation’s activities.” Id. at 92. A corporation typically directs and
23   coordinates its activities from its headquarters. Id.
24         21.    WinCo Holdings is incorporated under the laws of the State of Idaho, with
25   its principal place of business in Idaho. (Solecki Decl., ¶ 4). WinCo Holdings’ principal
26   place of business is Idaho because its “nerve center” is located in Idaho. (See id.)
27   Specifically, WinCo Holdings’ corporate headquarters are located exclusively in the State
28

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 1   of Idaho, and all of WinCo Holdings’ executive and administrative functions take place
 2   in Idaho. (See id.)
 3          22.    Accordingly, because Plaintiff is a citizen of California and both WinCo and
 4   WinCo Holdings are not citizens of California, diversity of citizenship exists between
 5   Plaintiff and Defendants for purposes of CAFA removal.
 6                 3.      Doe Defendants’ Citizenship Must Be Disregarded
 7          23.    The residence of fictitious and unknown defendants should be disregarded
 8   for purposes of establishing removal jurisdiction under 28 U.S.C. § 1332. See Fristoe v.
 9   Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (unnamed defendants are not
10   required to join in a removal petition); see also Emrich v. Touche Ross & Co., 846 F.2d
11   1190, 1191 n. 1 (9th Cir. 1988) (doe defendants need not join in removal); Abrego v. Dow
12   Chem. Co., 443 F.3d 676, 679-80 (9th Cir. 2006) (rule applied in CAFA removal). Thus,
13   Doe defendants 1 through 10 do not deprive this Court of jurisdiction.
14          B.     There Are More Than 100 Putative Class Members
15          24.    CAFA requires that the aggregate number of members of proposed classes in
16   a complaint be at least 100. See 28 U.S.C. § 1332(d)(5)(B).
17          25.    Plaintiff purports to represent a putative class of “[a]ll persons who worked
18   for Defendants as nonexempt, hourly-paid employees in California, including retail,
19   warehouse, and distribution center locations, within four years prior to the filing of this
20   complaint until the date of trial.” (Ex. A, Compl., ¶ 40).
21          26.    Plaintiff further purports to represent a putative subclass of “[a]ll persons
22   who worked for Defendants as nonexempt, hourly-paid employees in California,
23   including retail, warehouse, and distribution center locations, within one year prior to the
24   filing of this complaint until the date of trial.” (Id.).
25          27.    Plaintiff alleges the proposed class totals more than 100 individuals. (Ex. A,
26   Compl., ¶ 45).
27

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 1         28.    During the putative class period, approximately 12,314 non-exempt, retail
 2   employees were employed in California, including former employees. (Solecki Decl., ¶
 3   7).
 4         C.     The Amount in Controversy Exceeds the Jurisdictional Minimum
                  Required for CAFA Removal
 5

 6         29.    While Defendants deny any liability as to Plaintiff’s claims and the ability
 7   for this action to proceed on a class basis, the amount in controversy as alleged in the
 8   Complaint exceeds $5,000,000, exclusive of interest and costs. All calculations are based
 9   on the number of non-exempt, hourly paid retail employees employed in California
10   during the putative class period. In other words, even without factoring in non-exempt
11   distribution center or other non-retail, non-exempt employees, the amount in controversy
12   exceeds $5,000,000. These calculations should not be construed as a concession by
13   Defendants that class treatment is appropriate in this case, or that Plaintiff has standing to
14   represent such a class, or that the proposed class would meet the requirements set forth in
15   Rule 23 of the Federal Rules of Civil Procedure. Defendants expressly reserve the right
16   to challenge Plaintiff’s claims, adequacy and standing to represent any class, class
17   definitions, and calculation of damages in all respects.
18         30.    Under CAFA, the claims of the individual members in a class action are
19   aggregated to determine if the amount in controversy exceeds the sum or value of
20   $5,000,000. See 28 U.S.C. § 1332(d)(6). Congress intended federal jurisdiction to be
21   appropriate under CAFA “if the value of the matter in litigation exceeds $5,000,000
22   either from the viewpoint of the plaintiff or the viewpoint of the defendant, and
23   regardless of the type of relief sought (e.g., damages, injunctive relief, or declaratory
24   relief).” Sen. Jud. Comm. Rep., S. Rep. No. 109-14, at 42 (2005). Moreover, any doubts
25   regarding the maintenance of interstate class actions in state or federal court should be
26   resolved in favor of federal jurisdiction. S. Rep. No. 109-14, at 42-43 (“[I]f a federal
27   court is uncertain about whether ‘all matters in controversy’ in a purported class action
28   ‘do not in the aggregate exceed the sum or value of $5,000,000, the court should err in

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 1    favor of exercising jurisdiction over the case . . . . Overall, new § 1332(d) is intended to
 2    expand substantially federal court jurisdiction over class actions. Its provisions should be
 3    read broadly, with a strong preference that interstate class actions should be heard in a
 4    federal court if properly removed by any defendant.”).
 5          31.      Here, as noted above, the Complaint seeks relief on behalf of “[a]ll persons
 6    who worked for Defendants as nonexempt, hourly-paid employees in California,
 7    including retail, warehouse, and distribution center locations, within four years prior to
 8    the filing of the complaint until the date of trial.” (Ex. A, Compl., ¶ 40). During the
 9    putative class period, approximately 12,314 non-exempt retail employees were employed
10    in California, including former employees. (Solecki Decl., ¶ 7).
11          32.      As set forth below, the amount in controversy on Plaintiff’s class claims
12    exceeds $5,000,000.00. All calculations supporting the below estimates are based on the
13    Complaint’s allegations, assuming, without any admission, the truth of the facts alleged,
14    and assuming solely for purposes of this Notice of Removal that liability is established.
15                   1.     Labor Code § 226
16          33.      The Complaint alleges that in violation of Labor Code § 226(a), “Defendants
17    have knowingly and intentionally provided Plaintiff and class member with uniform,
18    incomplete, and inaccurate wage statements.” (Ex. A, Compl., ¶ 81).
19          34.      Labor Code § 226(e) provides an employee a minimum of $50 for the initial
20    pay period in which a violation occurs, and $100 for each further pay period in which a
21    violation occurs, up to a maximum penalty of $4,000 per employee. See Cal. Lab. Code
22    § 226(e). The statute of limitations for penalties under Labor Code § 226 is one year.
23    See Cal. Civ. Proc. Code § 340(a).
24          35.      During the one year preceding the filing of the Complaint, there were
25    approximately 7,979 putative class members that worked 184,197 pay periods. (Solecki
26    Decl., ¶ 8).
27

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 1          36.    By multiplying the number of pay periods by $100 and subtracting $50 up to
 2    a maximum of $4,000, the total amount in controversy for the § 226 claim alone would
 3    be $18,020,750.
 4          37.    There were no assumptions or estimations made with respect to violation
 5    rates in this calculation. Plaintiff alleges that Defendant knowingly and intentionally
 6    provided Plaintiff and class members with uniform wage statements that fail to correctly
 7    list the address of the legal entity that is the employer. (Ex. A, Comp., ¶ 81). While
 8    Defendant disputes this allegation, this would mean that every wage statement for every
 9    class member would have been incorrect.
10          38.    Therefore, based on the allegations in the Complaint, Plaintiff’s inaccurate
11    wage statement claim, by itself, satisfies the jurisdictional amount in controversy.
12                 2.     Labor Code § 203
13          39.    The Complaint alleges that “Defendants willfully failed to pay Plaintiff and
14    class members who are no longer employed by Defendants the earned and unpaid
15    wages…including, but not limited to, overtime wages, minimum wages, and meal and
16    rest period premium wages, either at the time of discharge, or within seventy-two (72)
17    hours of their leaving Defendants’ employ.” (Ex. A, Compl., ¶ 91).
18          40.    Labor Code § 203 states that the wages of an employee who quits “shall
19    continue as a penalty from the due date thereof at the same rate until paid or until an
20    action therefor is commenced; but the wages shall not continue for more than 30 days.”
21    Cal. Lab. Code § 203(a).
22          41.    The statute of limitations for recovery for waiting time penalties under Labor
23    Code § 203 pay is three years. Pineda v. Bank of Am., N.A., 50 Cal. 4th 1389, 1401
24    (2010) (holding that a three year statute of limitations applied to § 203 claims). Thus, for
25    determining the amount in controversy, a three-year statute of limitations applies.
26          42.    5,251 individuals of the 12,314 member putative class are former
27    employees. Defendants deny that these 5,251 employees were not paid their final wages
28    in a timely manner; however, assuming the truth of Plaintiff’s allegations, the amount in

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 1    controversy for Plaintiff’s waiting time penalties claim would be approximately
 2    $13,295,532 [(5,251 former employees) x ($10.55/hour - Ex. A, Compl., ¶ 4) x (8 hours
 3    per day - See Exhibit B, § (E)(6)) x (30 days)]. (Solecki Decl., ¶ 10).
 4          43.    Therefore, similar to the Labor Code § 226 claims, the Labor Code § 203
 5    claims by itself well exceeds CAFA’s jurisdictional minimum.
 6                 3.     Plaintiff’s Remaining Claims
 7          44.    As set forth above, the minimum jurisdictional amount in controversy is met
 8    based purely on the allegations in Plaintiff’s Complaint regarding each of the two claims
 9    detailed above.
10          45.    However, with respect to the remaining claims, the addition of these would
11    only extend the degree to which the amount in controversy minimum is exceeded.
12          46.    For example, with respect to Plaintiff’s meal and rest break claims, based on
13    the hourly rate alleged in the Complaint ($10.55) and just one meal or rest break penalty
14    per week, and multiplying that by the number of workweeks in question, the total amount
15    in controversy would be $12,212,669.45 for each of the meal and rest break penalties for
16    a total of $24,425,338.90. (See Solecki Decl., ¶ 9).
17          47.    Similarly, with respect to Plaintiff’s overtime claim,2 based on the hourly
18    rate alleged in the Complaint ($10.55), multiplying it by 1.5, assuming just one violation
19    per week, and multiplying the product by the number of workweeks in question, the total
20    amount in controversy for unpaid overtime alone would be $9,159,502.09.
21          48.    Thus, while the waiting time penalties and inaccurate wage statement
22    claims, each standing alone, meet the jurisdictional minimum,3 if all of Plaintiff’s claims
23    are included, there is little doubt the $5,000,000 minimum would be met and exceeded.
24    2
        This calculation is based on Plaintiff’s allegation that he should be awarded unpaid
25    overtime as a result of working through his lunch. Since lunch is normally 30 minutes,
26    the amount in controversy is calculated by using 30 minutes of alleged overtime pay.
      3
        Plaintiff did not set forth a claim for penalties under Labor Code § 1174. Plaintiff
27    simply alleges “Defendants willfully failed to maintain accurate payroll records for
28    Plaintiff and class members showing the daily hours they worked and the wages paid
      thereto as a result of failing to record the off-the-clock hours that they worked.” (Ex. A,
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 1                 4.     Attorneys’ Fees
 2          49.    Plaintiff also seeks attorneys’ fees. (Ex. A, Compl., ¶¶ 56, 116, 122, Prayer
 3    for Relief ¶¶ 8, 13, 21, 28, 34, 40, 46, 51, 56). Requests for attorneys’ fees must also be
 4    taken into account in ascertaining the amount in controversy. Galt G/S v. JSS
 5    Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (claims for statutory attorneys’ fees are
 6    to be included in amount in controversy, regardless of whether award is discretionary or
 7    mandatory); Brady v. Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004, 1010-11 (N.D.
 8    Cal. 2002) (“Where the law entitles the prevailing plaintiff to recover reasonable attorney
 9    fees, a reasonable estimate of fees likely to be incurred to resolution is part of the benefit
10    permissibly sought by the plaintiff and thus contributes to the amount in controversy”).
11          50.    A reasonable estimate of fees likely to be recovered may be used in
12    calculating the amount in controversy. See Longmire v. HMS Host USA, Inc., Civil No.
13    12-cv-2203 AJB (DHB), 2012 WL 5928485, at *9 (S.D. Cal. Nov. 26, 2012 (“[C]ourts
14    may take into account reasonable estimates of attorneys’ fees likely to be incurred when
15    analyzing disputes over the amount in controversy under CAFA.”) (citing Brady, 243 F.
16    Supp. 2d at 1010-11); Muniz v. Pilot Travel Ctrs. LLC, 2007 U.S. Dist. LEXIS 31515, at
17    *15 (E.D. Cal. Apr. 30, 2007) (attorneys’ fees appropriately included in determining
18    amount in controversy).
19          51.    In the class action context, courts have found that 25 percent of the
20    aggregate amount in controversy is a benchmark for attorneys’ fees award under the
21    “percentage of fund” calculation and courts may depart from this benchmark when
22    warranted. See Campbell v. Vitran Exp., Inc., 471 F. App’x 646, 649 (9th Cir. 2012)
23

24    Compl., ¶ 87). As such, Plaintiff alleges that every putative class member suffered a
      violation of Labor Code § 1174(d). Labor Code § 1174.5 provides a civil penalty of $500
25    per violation of § 1174(d). Cal. Lab. Code § 1174.5. While Plaintiff did not assert
26    penalties for this claim, if arguendo, they had, during the relevant time period, there were
      approximately 12,314 retail employees. By multiplying the number of employees by the
27    penalty amount of $500 the total amount in controversy for the §1174(d) claim is
28    $6,157,000. This claim alone would also meet the jurisdictional minimum for the amount
      in controversy.
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 1    (attorney’s fees appropriately included in determining amount in controversy under
 2    CAFA); Powers v. Eichen, 229 F.3d 1249, 1256-57 (9th Cir. 2000) (“We have also
 3    established twenty-five percent of the recovery as a ‘benchmark’ for attorneys’ fees
 4    calculations under the percentage-of-recovery approach”.); Wren v. RGIS Inventory
 5    Specialists, 2011 U.S. Dist. LEXIS 38667 at *78-84 (N.D. Cal. Apr. 1, 2011) (finding
 6    ample support for adjusting the 25% presumptive benchmark upward and found that
 7    plaintiffs’ request for attorneys’ fees in the amount of 42% of the total settlement
 8    payment was appropriate and reasonable in the case); Cicero v. DirecTV, Inc., 2010 U.S.
 9    Dist. LEXIS 86920 at *16-18 (C.D. Cal. July 27, 2010) (finding attorneys’ fees in the
10    amount of 30% of the total gross settlement amount to be reasonable).
11          52.    Thus, the attorneys’ fees at issue would be at least 25% of the alleged
12    damages, and equates to approximately $7,829,070.50.
13                 5.     Summary of Total Amount in Controversy
14          53.    In sum, while the Court need not consider Plaintiff’s reimbursement, meal
15    and rest break violation, overtime, minimum wage, waiting time claims or his request for
16    attorneys’ fees, injunctive relief and other remedies to conclude that the amount in
17    controversy requirement is satisfied, these additional claims for relief further illustrate
18    that this removal petition is not a close call. Jurisdiction is clear. Assumptions based on
19    Plaintiff’s Complaint easily put at issue the following amounts:
20
                              Claim                            Amount In Controversy
21                                                             By Plaintiff’s Allegations
22          1. Labor Code § 226                                        $18,020,750
23          2. Labor Code § 203                                        $13,295,532
24                          Sub-Total                                  $31,316,282
25          4. Attorneys’ Fees (25%)                                  $7,829,070.50
26                        Grand Total                                $39,145,352.50
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 1          54.     Because minimal diversity of citizenship exists, and the amount in
 2    controversy exceeds $5,000,000, this Court has original jurisdiction of this action
 3    pursuant to 28 U.S.C. § 1332(d)(2). This action is therefore a proper one for removal to
 4    this Court pursuant to 28 U.S.C. § 1441(a).
 5    IV.   FEDERAL QUESTION JURISDICTION
 6          55.     This action is one over which this Court has original jurisdiction under 28
 7    U.S.C. § 1331 and may be removed by Defendants pursuant to 28 U.S.C. § 1441 in that it
 8    is a civil action over which the district courts have original jurisdiction founded on claims
 9    arising under the laws of the United States.
10          56.     Federal courts have original jurisdiction over claims arising under § 301 of
11    the Labor Management Relations Act (the “LMRA”), codified at 29 U.S.C. § 185 et seq.
12    Under the LMRA, the district courts of the United States shall have original jurisdiction
13    over any action involving the application of a collective bargaining agreement (“CBA”).
14    29 U.S.C. § 185(a).
15          57.     Section 301 confers federal jurisdiction over “suits for violation of contracts
16    between an employer and a labor organization representing employees in an industry
17    affecting commerce.” 29 U.S.C. § 185(a). A collective bargaining agreement is such a
18    contract, and § 301 preempts all state-law claims “founded directly on rights created by
19    collective bargaining agreements ….” Caterpillar, Inc. v. Williams, 482 U.S. 386, 394
20    (1987). State-law claims which require interpretation, analysis, and application of
21    collective bargaining agreements are preempted by the LMRA. See, e.g., Adkins v.
22    Mireles, 526 F.3d 531, 540-42 (9th Cir. 2008) (holding that claims for breach of the
23    implied covenant of good faith and fair dealing, breach of contract, fraud, intentional
24    infliction of emotional distress, and Racketeering Influenced and Corrupt Organizations
25    Act (“RICO”), 18 U.S.C. § 1961 et seq., were preempted by the LMRA because
26    resolution of these claims would require an interpretation of the collective bargaining
27    agreement).
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 1          58.    It is immaterial that Plaintiff avoided explicit reference to the applicable
 2    collective bargaining agreement in its Complaint. State-law claims arising under a
 3    collective bargaining agreement are preempted; § 301 preempts all state-law claims if the
 4    claims actually depend on rights conferred by the collective bargaining agreement or
 5    require interpretation of a collective bargaining agreement. See Caterpillar, Inc., 482
 6    U.S. at 393-94 (explaining that complete preemption occurs where the “pre-emptive force
 7    of a statute is so ‘extraordinary’ that it ‘converts an ordinary state common law complaint
 8    into one stating a federal claim for purposes of the well-pleaded complaint rule’”)
 9    (citations omitted).
10          59.    Here, this Court has federal question jurisdiction because resolution of
11    Plaintiff’s claims is substantially dependent upon the Court’s analysis and interpretation
12    of the terms of a collective bargaining agreement. Plaintiff’s employment was governed
13    by a CBA made between the parties in a labor contract and entered into by WinCo
14    Holdings, Inc. and WinCo Foods #67 Hourly Employee Association. A true and correct
15    copy of the relevant CBA language, showing it has been in effect since March 15, 2013
16    and expired on February 26, 2017, is attached hereto as Exhibit B. The CBA covers the
17    entirety of Plaintiff’s employment with WinCo. See Exhibit B. Plaintiff’s claims will
18    require the Court’s analysis of the terms of the CBA. For example, Plaintiff alleges that
19    Defendants’ rest break policy is unlawful on its face. (Ex. A, Compl., ¶ 76). Resolving
20    Plaintiff’s rest break claim will therefore require the Court to interpret the rest break
21    provisions of the CBA.
22          60.     Accordingly, this Court has original jurisdiction over Plaintiff’s class-action
23    Complaint pursuant to 29 U.S.C. § 185. This action, though it purports to raise only
24    state-law claims, is necessarily federal in character; it “arise[s] under the … laws … of
25    the United States” pursuant to 28 U.S.C. § 1331, and is removable to this federal court
26    pursuant to 28 U.S.C. § 1441(b).
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 1       V.        VENUE
 2                 61.   Venue lies in the Central District of California pursuant to 28 U.S.C. §§
 3       1441, 1446(a), and 84(c)(2). This action was originally brought in the Superior Court of
 4       the State of California, County of San Bernardino. San Bernardino County falls within
 5       the jurisdiction of the United States District Court, Central District of California, Eastern
 6       Division.
 7       VI.       NOTICE OF REMOVAL
 8                 62.   This Notice of Removal will be promptly served on Plaintiff and filed with
 9       the Clerk of the Superior Court of the State of California in and for the County of San
10       Bernardino.
11       VII. PRAYER FOR REMOVAL
12                 63.   WHEREFORE, Defendants pray that this civil action be removed from the
13       Superior Court of the State of California for the County of San Bernardino to the United
14       States District Court for the Central District of California.
15       DATED: November 9, 2017                          Respectfully submitted,
16                                                        SEYFARTH SHAW LLP
17

18                                                        By: /s/ Julie G. Yap
                                                             Kristina M. Launey
19                                                           Julie G. Yap
                                                             Simon L. Yang
20                                                           Christopher Im
21                                                            Attorneys for Defendants
                                                              WINCO FOODS, LLC and WINCO
22                                                            HOLDINGS, INC.
23

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